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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 AMERICAN EDUCATIONAL RESEARCH
 ASSOCIATION, et al.,

                          Plaintiffs,

                              vs.
                                                           Case No. 8:25-cv-1230
 U.S. DEPARTMENT OF EDUCATION, et al.,

                        Defendants.




                                        [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ motion for a preliminary injunction, the accompanying

memorandum, any related responses and replies filed, and the immediate irreparable harm to

Plaintiffs alleged therein, it is hereby

        ORDERED that the motion for a preliminary injunction is GRANTED as follows:

        ORDERED that Defendants must reverse the Institute of Education Sciences (“IES”) Staff

Termination Action announced on March 11, 2025, by revoking the reduction in force (“RIF”)

notices sent to IES employees and by removing them from administrative leave and placing them

back in their roles to carry out IES functions;

        ORDERED that Defendants must reinstate all contracts that were terminated for

convenience in the February 2025 Research Termination Action, including contracts that were

conducting research studies and contracts that were otherwise supporting IES functions.

        ORDERED that Defendants take prompt action to preserve all data collected in research

conducted by contractors with contracts cancelled in the February 2025 Research Termination

Action, including by immediately communicating that such data should not be destroyed.
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Dated: ____________________                          _______________________
                                                     Hon. Stephanie A. Gallagher
                                                     United States District Judge
